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                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY PAPAPIETRO,                       :    3:22-CV-01624
                                          :
                   Plaintiff,             :    (Magistrate Judge Schwab)
                                          :
            v.                            :
                                          :
THE BANK OF NEW YORK                      :
MELLON,                                   :
                                          :
                   Defendant.             :


                          MEMORANDUM OPINION


I. Introduction.

      Plaintiff Anthony Papapietro (“Papapietro”) alleges violations of federal and

state law in connection with the origination and servicing of a mortgage loan.

Papapietro names as a defendant in his amended complaint The Bank of New York

Mellon f/k/a/ The Bank of New York as Successor-in-Interest to JP Morgan Chase

Bank, N.A. as Trustee for Benefit Holders of Popular ABS, Inc. Mortgage Pass-

Through Certificate Series 2005-4, by its Attorney-in-fact Ocwen Loan Servicing,

LLC (“the Bank of New York Mellon”). Presently before the court is the Bank of

New York Mellon’s motion to dismiss the amended complaint pursuant to Fed. R.

Civ. P. 12(b)(6). For the reasons set forth below, we will dismiss the case pursuant

to Fed. R. Civ. P. 41(b) and dismiss the pending motion to dismiss as moot.
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II. Background and Procedural History.

      On October 17, 2022, Papapietro commenced this action pro se by filing a

complaint against several defendants, including the Bank of New York Mellon.

Doc. 1. On November 1, 2023, the Bank of New York Mellon filed its first motion

to dismiss. Doc. 65. On March 28, 2024, we granted that first motion to dismiss,

as well as the motions to dismiss filed by the other defendants, but we gave

Papapietro leave to amend regarding his Real Estate Settlement Procedures Act

(“RESPA”) (12 U.S.C. § 2601 et seq.) claim against the Bank of New York

Mellon. Doc. 77.

      On April 30, 2024, Papapietro filed his amended complaint. Doc. 78. The

Bank of New York Mellon then filed its second motion to dismiss. Doc. 81. We

ordered Papapietro to file a brief in opposition by June 12, 2024. Doc. 83. He did

not file a brief in opposition. But on July 23, 2024, Papapietro filed a letter

regarding his diminished ability to file a brief in opposition due to his worsening

blindness, but he stated that he would “be able to submit [the brief in opposition]

by July 25, 2024.” Doc. 84 at 1. Papapietro still did not, however, file a brief in

opposition. After receiving no further filings from Papapietro, we ordered

Papapietro to show cause by October 4, 2024 why this action should not be

dismissed pursuant to Fed. R. Civ. P. 41(b). Doc. 85. To date, Papapietro has not

responded to the show-cause order.


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      The following facts come from the amended complaint. Papapietro alleges

that on June 20, 2005, he “and his father, now deceased, executed a promissory

note in the amount of $405,600 and obtained a mortgage loan from Wilmington for

the property located at 413 Edgemont Road, Stroudsburg, Pennsylvania.” Doc. 78

at 2. He then alleges that, on September 1, 2011, Ocwen Loan Servicing Company

“began servicing the loan” and, at some point, transferred the loan to the Bank of

New York Mellon. Id. Papapietro alleges that he was not notified of this “transfer

of assignment[,]” which he claims was “a violation of RESPA.” Id. at 2–3.

      On July 30, 2012, the Bank of New York Mellon “commenced a Mortgage

Foreclosure Action against [him] in the Court of Common Pleas for Monroe

County, Pennsylvania.” Id. Papapietro alleges, however, that the Bank of New

York Mellon “lacks standing to file for said foreclosure.” Id. at 3. He also alleges

that the Bank of New York Mellon is in violation of RESPA, “failed to provide

[him] with disclosures detailing the loan servicing and escrow account

statement[,]” “failed to provide a comprehensive list of all charges and fees related

to the loan to preclude the imposition of undisclosed or hidden charges on [him,]”

and did not “offer [him] alternative options other than [f]oreclosure[.]” Id. at 2–4.

      Due to the alleged violations of RESPA by the Bank of New York Mellon,

Papapietro asserts, he “has suffered damages such as out of pocket expenses and




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emotional distress due to the attempted foreclosure of his family home[.]” Id. at 4.

Papapietro, therefore, seeks “damages for the violations of RESPA.” Id.



III. Pleading and Motion-to-Dismiss Standards.

      In accordance with Fed. R. Civ. P. 12(b)(6), the court may dismiss a

complaint for “failure to state a claim upon which relief can be granted[.]” Fed. R.

Civ. P. 12(b)(6). When reviewing a motion to dismiss under Rule 12(b)(6) “[w]e

must accept all factual allegations in the complaint as true, construe the complaint

in the light favorable to the plaintiff, and ultimately determine whether [the]

plaintiff may be entitled to relief under any reasonable reading of the complaint.”

Mayer v. Belichick, 605 F.3d 223, 229 (3d Cir. 2010). In making that

determination, we “consider only the complaint, exhibits attached to the complaint,

matters of public record, as well as undisputedly authentic documents if the

[plaintiff’s] claims are based upon these documents.” Id. at 230.

      “A Rule 12(b)(6) motion tests the sufficiency of the complaint against the

pleading requirements of Rule 8(a).” I.H. ex rel. D.S. v. Cumberland Valley Sch.

Dist., 842 F. Supp. 2d 762, 769–70 (M.D. Pa. 2012). “Under Federal Rule of Civil

Procedure 8(a)(2), a pleading must contain a ‘short and plain statement of the

claim showing that the pleader is entitled to relief.’” Ashcroft v. Iqbal, 556 U.S.

662, 677–78 (2009) (quoting Fed. R. Civ. P. 8(a)(2)). The statement required by


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Rule 8(a)(2) must give the defendant fair notice of the nature of the plaintiff’s

claim and of the grounds upon which the claim rests. Erickson v. Pardus, 551 U.S.

89, 93 (2007). Detailed factual allegations are not required, but more is required

than “labels,” “conclusions,” or “a formulaic recitation of the elements of a cause

of action.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). “In other

words, a complaint must do more than allege the plaintiff’s entitlement to relief.”

Fowler v. UPMC Shadyside, 578 F.3d 203, 211 (3d Cir. 2009). “A complaint has

to ‘show’ such an entitlement with its facts.” Id.

       In considering whether a complaint fails to state a claim upon which relief

can be granted, the court “‘must accept all facts alleged in the complaint as true

and construe the complaint in the light most favorable to the nonmoving party.’”

Krieger v. Bank of Am., N.A., 890 F.3d 429, 437 (3d Cir. 2018) (quoting Flora v.

Cty. Of Luzerne, 776 F.3d 169, 175 (3d Cir. 2015)). But a court “need not credit a

complaint’s bald assertions or legal conclusions when deciding a motion to

dismiss.” Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997). A

court also need not “assume that a . . . plaintiff can prove facts that the . . . plaintiff

has not alleged.” Associated Gen. Contractors of Cal. v. California State Council

of Carpenters, 459 U.S. 519, 526 (1983).

       Following Twombly and Iqbal, a well-pleaded complaint must contain more

than mere legal labels and conclusions. Rather, it must recite factual allegations


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sufficient to raise the plaintiff’s claimed right to relief beyond the level of mere

speculation. In practice, consideration of the legal sufficiency of a complaint

entails a three-step analysis:

             First, the court must “tak[e] note of the elements a
      plaintiff must plead to state a claim.” Second, the court should
      identify allegations that, “because they are no more than
      conclusions, are not entitled to the assumption of truth.”
      Finally, “where there are well-pleaded factual allegations, a
      court should assume their veracity and then determine whether
      they plausibly give rise to an entitlement for relief.”

Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (footnote and

citations omitted) (quoting Iqbal, 556 U.S. at 675, 679).

      A complaint filed by a pro se litigant is to be liberally construed and

“‘however inartfully pleaded, must be held to less stringent standards than formal

pleadings drafted by lawyers.’” Erickson, 551 U.S. at 94 (quoting Estelle v.

Gamble, 429 U.S. 97, 106 (1976)). Nevertheless, “pro se litigants still must allege

sufficient facts in their complaints to support a claim.” Mala v. Crown Bay Marina,

Inc., 704 F.3d 239, 245 (3d Cir. 2013).



IV. Discussion.

      Under the Local Rules of the Middle District of Pennsylvania, Papapietro

should be deemed not to oppose the Bank of New York Mellon’s motion. Further,

upon consideration of the Poulis factors, dismissal of the case is warranted. Thus,


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we will dismiss the case pursuant to Fed. R. Civ. P. 41(b) and dismiss the pending

motion to dismiss as moot.



      A. Local Rule 7.6.

      At the outset, under the Local Rules of this court, Papapietro should be

deemed not to oppose the Bank of New York Mellon’s motion to dismiss because

he has failed to oppose this motion. Local Rule 7.6 imposes an affirmative duty on

a litigant to respond to motions and provides that “[a]ny party who fails to comply

with this rule shall be deemed not to oppose such motion.” M.D. Pa. L.R. 7.6. At

the time the case was filed, Papapietro received a standing practice order

containing excerpts of some of the court’s local rules, which set forth his

obligations with respect to responding to motions. See doc. 5.

      Here, Papapietro has not complied with Local Rule 7.6, nor has he shown

cause, after being ordered to do so, why this case should not be dismissed. These

procedural defaults compel us to consider:

      [A] basic truth: we must remain mindful of the fact that “the
      Federal Rules are meant to be applied in such a way as to
      promote justice. See Fed. R. Civ. P. 1. Often that will mean
      that courts should strive to resolve cases on their merits
      whenever possible. However, justice also requires that the
      merits of a particular dispute be placed before the court in a
      timely fashion. . . .”




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Lease v. Fishel, 712 F. Supp. 2d 359, 371 (M.D. Pa. 2010) (quoting McCurdy v.

American Bd. of Plastic Surgery, 157 F.3d 191, 197 (3d Cir. 1998)).

      With this basic truth in mind, a fundamental guiding tenet of our legal

system must be acknowledged. A failure on our part to enforce compliance with

the rules, and impose the sanctions mandated by those rules when the rules are

repeatedly breached, “would actually violate the dual mandate which guides this

court and motivates our system of justice: ‘that courts should strive to resolve cases

on their merits whenever possible [but that] justice also requires that the merits of a

particular dispute be placed before the court in a timely fashion.’” Id. Therefore,

the court is obliged to ensure that one party’s refusal to comply with the rules does

not lead to an unjustified prejudice to those parties who follow the rules.

      Such basic principles of fairness apply here. In this case, Papapietro has

failed to comply with Local Rule 7.6 by failing to file a brief in opposition to the

pending motion to dismiss.

      Nevertheless, Papapietro’s failure to file a brief in opposition alone is not

sufficient for the court to dismiss the case. In Stackhouse v. Mazurkiewicz, the

Third Circuit reversed a district court’s dismissal based on the pro se plaintiff’s

failure to file a brief in accordance with a local rule of court. See Stackhouse v.

Mazurkiewicz, 951 F.2d 29, 30 (3d Cir. 1991). The Third Circuit stated that failure

to obey the local rule should not form the basis for dismissal without an analysis of


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the merits of the case. Id. It noted that dismissal was not to be ruled out if the party

was represented by an attorney and in fact did not oppose the motion. Id. It also

noted: “Nor do we suggest that if a party fails to comply with the rule after a

specific direction to comply from the court, the rule cannot be invoked. Thus, our

holding is not broad.” Id.

      Although this caveat from the Stackhouse case might suggest that the court

could grant the pending motion based on Papapietro’s failure to file a brief in

opposition, the Third Circuit has subsequently declined “to adopt an interpretation

of Stackhouse under which a district court may dismiss a case solely because a

plaintiff misses a briefing deadline set forth in a local rule or court-ordered briefing

schedule.” Hernandez v. Palakovich, 293 F. App’x 890, 895 (3d Cir. 2008).

Rather, the Third Circuit has held that before dismissing a case as a sanction for

failure to follow a court rule or court order, a court must consider the factors set

forth in the seminal Poulis case. Id. at 894 (citing Poulis v. State Farm Fire and

Casualty Co., 747 F.2d 863, 868 (3d Cir. 1984)); see also Shuey v. Schwab, 350 F.

App’x 630, 633 (3d Cir. 2009) (“Poulis has been cited too often and is too deeply

ingrained in the jurisprudence of this court and the district courts of this circuit for

a court to assume that a party’s failure to respond to a motion to dismiss can be

regarded as an abandonment of the claim.”). As such, the Poulis factors must be

considered here as well.


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      B. The Poulis factors.

      Upon consideration of the Poulis factors, however, we conclude Papapietro

has failed to prosecute this action, and rather, has abandoned this action. Thus, we

will dismiss this action pursuant to Fed. R. Civ. P. 41(b).

      The court may dismiss an action under Fed. R. Civ. P. 41(b) if the plaintiff

fails to prosecute a case or to comply with court rules or court orders. Even though

dismissal is an available sanction, it is a drastic sanction that “should be reserved

for those cases where there is a clear record of delay or contumacious conduct by

the plaintiff.” Donnelly v. Johns-Manville Sales Corp., 677 F.2d 339, 342 (3d Cir.

1982). In other words, “cases should be decided on the merits barring substantial

circumstances in support of the contrary outcome.” Hildebrand v. Allegheny Cty.,

923 F.3d 128, 132 (3d Cir. 2019).

      Decisions regarding dismissal of actions for failure to prosecute rest in the

sound discretion of the court and will not be disturbed absent an abuse of that

discretion. See Emerson v. Thiel College, 296 F.3d 184, 190 (3d Cir. 2002). But

that discretion, while broad, is governed by the following factors, commonly

referred to as the Poulis factors, which the court must balance in deciding whether

to dismiss a case:

      (1) the extent of the party’s personal responsibility; (2) the
      prejudice to the adversary caused by the failure to meet
      scheduling orders and respond to discovery; (3) a history of
      dilatoriness; (4) whether the conduct of the party or the attorney
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      was willful or in bad faith; (5) the effectiveness of sanctions
      other than dismissal, which entails an analysis of alternative
      sanctions; and (6) the meritoriousness of the claim or defense.

Poulis, 747 F.2d at 868. “The court should consider all six factors but need not

find all six to award sanctions.” United States v. Brace, 1 F.4th 137, 143 (3d Cir.

2021). And no single factor is dispositive. See Briscoe v. Klaus, 538 F.3d 252, 263

(3d Cir. 2008). Thus, we will analyze each factor in turn.

      The first Poulis factor is the extent of the party’s personal responsibility. In

general, a pro se litigant is personally responsible for failure to comply with the

court’s rules and orders. In this case, because Papapietro is proceeding pro se, he

is responsible for his own failure to litigate this case.

      The second Poulis factor is prejudice to the adversary. Examples of

prejudice are “the irretrievable loss of evidence, the inevitable dimming of

witnesses’ memories, or the excessive and possibly irremediable burdens or costs

imposed on the opposing party.” Scarborough v. Eubanks, 747 F.2d 871, 876 (3d

Cir. 1984). Prejudice for purposes of the Poulis analysis, however, does not mean

irremediable harm. Ware v. Rodale Press, Inc., 322 F.3d 218, 222 (3d Cir. 2003).

Rather, “the burden imposed by impeding a party’s ability to prepare effectively a

full and complete trial strategy is sufficiently prejudicial.” Id.

      Here, Papapietro’s failure to litigate this case and comply with court rules

frustrates and delays resolution of this action. Although the Bank of New York


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Mellon was previously in default for not responding to the original complaint, it

has been timely in all of its filings since (see, e.g., docs. 56, 58, 61, 65, 66, 67, 75,

79, 81, 82) and is seeking a timely resolution of this action (see doc. 82 at 8). In

contrast, Papapietro has not filed anything for months, despite several orders from

the court. As a result, such failure to litigate can be seen to prejudice the Bank of

New York Mellon.

       Relatedly, the third Poulis factor is a history of dilatoriness. While “conduct

that occurs one or two times is insufficient to demonstrate a ‘history of

dilatoriness,’” Briscoe, 538 F.3d at 261, “[e]xtensive or repeated delay or

delinquency constitutes a history of dilatoriness, such as consistent non-response to

interrogatories, or consistent tardiness in complying with court orders[.]” Adams v.

Trs. of N.J. Brewery Emps.’ Pension Trust Fund, 29 F.3d 863, 874 (3d Cir. 1994).

A “party’s problematic acts must be evaluated in light of [his] behavior over the

life of the case.” Id. at 875.

       In this case, Papapietro has a history of dilatoriness. He failed to comply

with Local Rule 7.6, and he failed to file a brief in opposition to Bank of New

York Mellon’s motion to dismiss, even after the court ordered him to do so.

Although he filed a letter on July 23, 2024 addressing why his brief in opposition

was not filed by the court’s deadline, Papapietro stated in that letter that he would

“be able to submit [the brief in opposition] by July 25, 2024.” Doc. 84 at 1. Yet


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nothing was filed by Papapietro by or on July 25, 2024. Moreover, on September

9, 2024, we filed an order for Papapietro to show cause by October 4, 2024,

warning him that if he failed to show cause, we may deem him to have abandoned

this lawsuit. See doc. 85 at 2. Yet Papapietro failed to respond to the court’s show-

cause order as well. Thus, Papapietro has a history of dilatoriness.

      The fourth Poulis factor is whether the conduct was willful or in bad faith.

“Willfulness involves intentional or self-serving behavior.” Adams, 29 F.3d at 875.

Here, Papapietro has failed to respond to the motion to dismiss or to respond to the

show-cause order of the court. These failures, therefore, lead to an inference that

Papapietro has willfully abandoned this case.

      The fifth Poulis factor is the effectiveness of alternate sanctions. Dismissal

is a sanction of last resort, and it is incumbent upon a court to explore the

effectiveness of lesser sanctions before ordering dismissal. Poulis, 747 F.2d at 868.

Here, Papapietro is proceeding pro se, and there is no evidence to support a

reasonable inference that he would be able to pay monetary sanctions. Therefore,

monetary sanctions, including attorney’s fees and costs, would not be an effective

sanction in this case. Further, Papapietro’s failure to prosecute this action even in

the face of an order to show cause leads to an inference that further orders would

not be effective. Thus, no sanction short of dismissal would be effective here.




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      The sixth and final Poulis factor is the meritoriousness of the claim. In this

inquiry, a claim will be deemed meritorious when the allegations of the complaint,

if established at trial, would support recovery. Poulis, 747 F.2d at 870.

      Here, the Bank of New York Mellon has filed a motion to dismiss with

strong arguments in support of dismissal. First, the Bank of New York Mellon

asserts Papapietro failed to state a RESPA claim upon which relief can be granted

because he failed to allege that the Bank of New York Mellon was a servicer of the

loan under 12 U.S.C. § 2605(b) and (c). Doc. 82 at 4–5. The Bank of New York

Mellon argues that it was never a servicer and that it simply commenced a

foreclosure action “by and through its attorney-in-fact, Ocwen” when Papapietro

defaulted on the loan. Id. at 2.

      RESPA is “a consumer protection statute that regulates the real estate

settlement process” and generally imposes “notice and reporting requirements” on

loan servicers. Jones v. ABN AMRO Mortg. Grp., Inc., 606 F.3d 119, 124 (3d Cir.

2010). “A loan ‘servicer’ under RESPA is ‘the person responsible for servicing of

a loan . . . .’” Id. And “[t]he term ‘servicing’ is defined to mean ‘receiving any

scheduled periodic payments from a borrower pursuant to the terms of any loan . . .

and making the payments of principal and interest and such other payments with

respect to the amounts received from the borrower as may be required pursuant to

the terms of the loan.’” Id. The provisions of 12 U.S.C. § 2605 only apply to


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mortgage loan servicers. See 12 U.S.C. § 2605(b) (“Each servicer of any federally

related mortgage loan shall notify . . . ”); see also Jones, 606 F.3d at 123–25.

      In his amended complaint, Papapietro does not allege that the Bank of New

York Mellon was a loan servicer. See generally doc. 78. He only alleges that, on

September 1, 2011, Ocwen Loan Servicing Company “began servicing the loan”

and, at some point, transferred the loan to the Bank of New York Mellon. Id. at 2.

Thus, he fails to state a meritorious claim under 12 U.S.C. § 2605(b) and (c).

      The Bank of New York Mellon also argues that Papapietro has failed to

“follow this [c]ourt’s [o]rder and the Federal Rules of Civil Procedure” because

Papapietro brought several claims that were outside the scope of this court’s order

granting him leave to amend. Doc. 82 at 2. We gave Papapietro leave to amend

only as to the RESPA claim based on the assignment of the mortgage from the

Bank of New York Mellon to the U.S. Bank (see doc. 77), not as to the assignment

of the mortgage from Ocwen Loan Servicing Company to the Bank of New York

Mellon. Yet Papapietro does not mention the U.S. Bank at all in his amended

complaint and instead, among other unrelated claims, focuses on the transfer of

assignment from Ocwen Loan Servicing Company to the Bank of New York

Mellon. Id. at 2–3. Thus, Papapietro was not given leave to amend these claims.

      In sum, the Poulis factors weigh in favor of dismissal. Therefore, we will

dismiss the case pursuant to Fed. R. Civ. P. 41(b). And in light of that dismissal,


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we will dismiss the pending motion to dismiss as moot. See Propst v. Williamsport,

PA, No. 4:23-CV-1311, 2024 WL 3330581, at *1 (M.D. Pa. July 8, 2024)

(dismissing action for failure to prosecute pursuant to Fed. R. Civ. P. 41(b) and

dismissing pending motion to dismiss as moot); Nelson v. Scott, No. 1:23-CV-

01852, 2024 WL 3046721, at *2 (M.D. Pa. June 18, 2024) (same).



V. Conclusion.

      Based on the foregoing, we will dismiss this case pursuant to Fed. R. Civ. P.

41(b) and dismiss the pending motion to dismiss as moot. An appropriate order

follows.



                                                    S/Susan E. Schwab
                                                    Susan E. Schwab
                                                    United States Magistrate Judge




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